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   11
      AT PASADENA and NORTON SIMON
   12 ART FOUNDATION
   13
                                UNITED STATES DISTRICT COURT
   14
                            CENTRAL DISTRICT OF CALIFORNIA
   15
                                     WESTERN DIVISION
   16
   17
        MAREI VON SAHER,                       Case No. CV 07-2866 JFW (SSx)
   18
                   Plaintiff,                  JUDGMENT
   19
             vs.                               Courtroom:     16
   20                                          Judge:         Hon. John F. Walter
      NORTON SIMON MUSEUM OF ART
   21 AT PASADENA, et al.,
   22          Defendants.
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                                                                        07-2866 JFW(SSx)
                                           JUDGMENT
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    1        Defendants’ Motion for Summary Judgment [Docket No. 186] was submitted
    2 for decision by this Court on the papers on August 1, 2016. The evidence presented
    3 having been fully considered, the issues having been duly heard, and a decision
    4 [Docket No. 331] having been duly rendered,
    5        IT IS ORDERED, ADJUDGED, AND DECREED that:
    6        (1)    (a) Norton Simon Art Foundation, defendant in this action, is the sole
    7 owner of the title to the personal property described as the oil on panel paintings
    8 “Adam” and “Eve” by Lucas Cranach the Elder (the “Cranachs”).
    9               (b) Plaintiff has no right, title, or interest whatever in the Cranachs.
   10               (c) No person has any right, title, or interest in the Cranachs that is
   11 superior or adverse to the Norton Simon Art Foundation’s title as decreed in this
   12 judgment.
   13        (2) Plaintiff Marei von Saher take nothing, the action be dismissed on the
   14 merits in its entirety with prejudice, and defendants Norton Simon Museum of Art at
   15 Pasadena and Norton Simon Art Foundation recover their costs.
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   18   DATED: August 15, 216                   _________________________________
                                                 HON. JOHN F. WALTER
   19
                                                 UNITED STATES DISTRICT JUDGE
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                                               JUDGMENT
